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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


ELISABETH CLEVELAND, on behalf of herself
and all others similarly situated,                       Case No. 20-cv-1906-WMW-KMM
                              Plaintiff,
        v.                                               JOINT STIPULATION FOR ORDER
                                                         REGARDING DISCOVERY OF
                                                         ELECTRONICALLY STORED
WHIRLPOOL CORPORATION,                                   INFORMATION

                              Defendant.


        IT IS HEREBY STIPULATED AND AGREED by the parties, through their respective

counsel, subject to the approval of the Court, that the following Stipulated Order Regarding the

Discovery of Electronically Stored Information (the “Stipulated ESI Protocol” or the “Protocol”)

be entered by this Court, and shall govern all actions subject to the parties’ Coordination Plan

(Doc. Nos. 44, 46):

STIPULATED ESI PROTOCOL

   1. Purpose

       A.      This Order will govern discovery of electronically stored information (“ESI”) in

this case as a supplement to the Federal Rules of Civil Procedure, this Court’s Guidelines for the

Discovery of Electronically Stored Information, and any other applicable orders and rules.

   2. Cooperation

       A.      The parties are aware of the importance the Court places on cooperation and

commit to cooperate in good faith throughout the matter consistent with this Court’s Guidelines
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for the Discovery of ESI to promote the “just, speedy, and inexpensive determination” of this

action, as required by Fed. R. Civ. P. 1.

       B.      The parties are expected to use reasonable, good faith and proportional efforts to

preserve, identify and produce relevant and discoverable information consistent with Fed. R. Civ.

P. 26(b)(1). “Parties may obtain discovery regarding any nonprivileged matter that is relevant to

any party's claim or defense and proportional to the needs of the case, considering the importance

of the issues at stake in the action, the amount in controversy, the parties’ relative access to

relevant information, the parties’ resources, the importance of the discovery in resolving the

issues, and whether the burden or expense of the proposed discovery outweighs its likely benefit.

Information within this scope of discovery need not be admissible in evidence to be

discoverable.” Fed. R. Civ. P. 26(b)(1).

   3. Proportionality

       A.      The parties will consider the proportionality standard set forth in Fed. R. Civ. P.

26(b)(2)(C) in formulating their discovery plan. To further the application of the proportionality

standard in discovery, requests for production of ESI and related responses should be reasonably

targeted, clear, and as specific as practicable.

       B.      The parties will consider the option of prioritizing certain discovery where

appropriate. In order to reduce the costs and burdens of discovery, the parties have agreed that

this ESI Protocol shall incorporate a non-waiver agreement pursuant to Federal Rule of Evidence

502(d), which states in full: “(d) Controlling Effect of a Court Order. A federal court may order

that the privilege or protection is not waived by disclosure connected with the litigation pending




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before the court — in which event the disclosure is also not a waiver in any other federal or state

proceeding.” Fed. R. Evid. 502(d).

   4. Preservation of ESI

       A.      The parties acknowledge that they have an obligation to take reasonable and

proportional steps to preserve discoverable information in the Party’s possession, custody or

control.

       B.      The parties agree that a significant quantity of relevant information can be yielded

from reasonably accessible sources and, as necessary and appropriate, supplemented with

deposition discovery. The possibility of additional relevant information existing that is not

reasonably accessible is substantially outweighed by the burden and cost of preservation,

collection, review and production of ESI from such sources. The parties agree that the following

ESI is not reasonably accessible:

              i.      Data maintained or duplicated in any electronic backup system for the

                      purpose of system recovery or information restoration, including but not

                      limited to, system recovery backup tapes or other media, continuity of

                      operations systems, and data or system mirrors or shadows, if such data

                      are routinely purged, overwritten or otherwise made not reasonably

                      accessible in accordance with an established routine system maintenance

                      policy.

             ii.      Unallocated, slack space, deleted data, file fragments, or other data not

                      accessible by use of computer forensics;




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   iii.    Random access memory (RAM), temporary files, or other ephemeral data

           that is difficult to preserve;

   iv.     Data relating to online access, such as temporary Internet files, browser

           history, file or memory caches and cookies;

    v.     Data in metadata fields that are frequently updated automatically as part of

           the usual operation of a software application, operating system or network

           (e.g., data last opened) provided, however, that such metadata as it exists

           at the time of preservation shall be retained, produced, and not altered by

           the production process unless it is separately preserved and produced with

           the relevant document;

   vi.     Telephone or VOIP voice messages that are not regularly stored or saved,

           unless any such messages were otherwise stored or saved;

   vii.    Instant messages such as messages sent on Lync Online, Microsoft

           Communicator, or any other instant message platform if not maintained in

           the ordinary course of business.

  viii.    Data stored on cell phones or mobile devices, excluding tablets, that is

           more reasonably accessible elsewhere, provided that the alternative

           location is identified, and the producing party shall produce such data

           from reasonably accessible sources along with documentation of the

           specific device on which it is also located, and the producing party shall

           do so without any additional request for production from the receiving




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                     party. Further, all such devices that were identified and that contain data

                     that was not preserved shall be identified;

            ix.      Call history records maintained on mobile devices, cell phones or

                     Blackberry devices so long as copies of telephone bills that contain such

                     records are preserved and made available when responsive;

            x.       Operating system files, executable files, and log files (including web

                     server, web services, system, network, application log files and associated

                     databases, analysis output caches, and archives of such data), unless such

                     log files may be used to identify putative class members; and

            xi.      Other forms of ESI whose preservation requires extraordinary affirmative

                     measures that are not utilized in the ordinary course of business. If a party

                     identifies such a form of ESI during its efforts to identify responsive

                     information, that party shall promptly meet and confer with the other

                     parties to discuss the nature of the ESI, its potential relevance to the case,

                     and the burdens of preservation.

       C.     Absent a showing of good cause, no party need restore any form of media upon

which backup data is maintained in a party’s normal or allowed processes, including but not

limited to backup tapes, disks, SAN, and other forms of media, to comply with its discovery

obligations in the present case. For the avoidance of doubt, CDs, DVDs or other media that are

used in the ordinary course of business to store original data shall be searched for responsive

material.




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   5. Sources of ESI

       A.      The parties agree to limit searches of discoverable ESI as follows. Collections of

ESI shall be initially limited to up to ten key custodians per party. Each party shall designate its

own custodians, and, upon designation, disclose the identities of the custodians to the other party

along with the custodians’ title, job description, and length of employment. Whirlpool shall also

produce an organizational chart demonstrating where its designated custodians currently fit in the

corporate hierarchy, if reasonably available. Should the other party have a reasonable basis to

question the choices of custodians, the parties agree to meet and confer about the designated

custodians. A party seeking collections from additional custodians shall meet and discuss a

reasonable resolution with the other parties, including outlining the good faith need for the

additional collections and whether the request is proportionate to the needs of the case. Should

the parties be unable to agree on whether there is a good faith need for additional custodians or

additional collections, the requesting party shall seek relief from the court. In the event a party

requests and receives court approval for collections from more than 10 custodians of another

party’s ESI, the requesting party shall reimburse the producing party for the additional expenses

of searching for, collecting, reviewing, and producing any responsive ESI from those additional

custodians. The time period for ESI searches shall extend back to January 1, 2010.

       B.      The parties further agree to be bound by the Stipulated Protective Order during

the sharing of ESI. Nothing in this Stipulated ESI Protocol precludes any party from challenging

the admissibility, discoverability, production, relevance, or confidentiality of information

produced under this Protocol or otherwise objecting to its production or use at trial.




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       C.      No party may seek relief from the Court concerning compliance with the Protocol

unless it has conferred with other affected parties.

       D.      If necessary, the Stipulated ESI Protocol may be amended by written modification

of all parties and approval by the court.

   6. ESI Discovery Plan

       A.      Each party will be responsible for reviewing and producing its own documents

consistent with Federal Rules of Civil Procedure. To facilitate a cooperative, efficient, and cost-

effective discovery process, the parties agree to meet and confer about methods to search ESI in

order to identify ESI that is subject to production in discovery and to filter out ESI that is not

subject to discovery.

       B.      Each party may serve its initial written discovery requests in accordance with the

joint case management plans and related scheduling orders. The parties shall meet and confer

promptly following the service of any additional written discovery requests to discuss proposals

to identify key custodians with potentially-responsive information, non-custodial sources of

potentially-responsive information (e.g., relevant databases or other repositories of data or

documents), relevant search terms and limitations, and the timing of the collection, review, and

production process for documents and information responsive to the written discovery requests.

       C.      If a party employs a methodology other than keyword searching to identify

responsive documents, it will provide the Requesting Party with the identity of its Technology

Assisted Review (“TAR”) tool(s), and will, upon request, meet and confer to describe in general

terms the methodology by which such tools will be applied.




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   7. General Production Format

       A.      The parties will produce ESI in TIFF image format provided that the documents

do not become illegible or unusable or in any way alter existing metadata when converted to

TIFF image format. Any party may request production of the native format of any document

produced in any non-native format. If a dispute arises as to the reasonableness of the request, the

parties agree to meet and confer in an effort to resolve their differences.

       B.      Certain documents that become illegible or unusable when converted to TIFF

image format (Microsoft Excel files, other similar spreadsheet application files, Microsoft

Project, PowerPoint, and audio and video files), must be produced in native format, unless they

contain information that requires redaction.

       i.       Excel (or other spreadsheet formats) will be produced in native format. Native

       Excel files will be redacted by overwriting the data contained in a particular cell, row,

       column or tab with the word "REDACTED." These documents will be identified as

       redacted within the "REDACTED" field in the .DAT. If the producing party deems it

       necessary to produce redacted Excel (or other spreadsheet formats) in any format other

       than Native, the parties should meet and confer before such a production is made.

       ii.      PowerPoint (or other presentation formats) will be produced in native format.

       Native PowerPoint presentations that require redactions shall be produced as TIFF

       images, which shall include speaker notes and "hidden" slides as extracted by the

       software used to process the documents. Color PowerPoint presentations requiring

       redactions shall be converted to color images, and black and white PowerPoint

       presentations requiring redactions shall be converted to black and white TIFF images,


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        provided that proper grayscale printing is enabled to ensure that any dark colored text is

        not hidden by dark objects/drawings around the text. If the PowerPoint or slide program

        contains video or audio components, the video or audio will be produced as native files

        with the appropriate attachment relationships.

        iii.    Word processing documents with redactions will be processed to TIFF format

        and imaged showing track changes or edits, comments, notes and other similar

        information.

        The parties reserve their rights to seek additional electronic documents in their native

format, including natively redacted spreadsheet documents that preserve the searching, sorting,

and filtering characteristics intrinsic to spreadsheet functionality. Electronic documents should

be produced in such fashion as to identify the location (i.e., the network file folder, hard drive,

back-up tape or other location) where the documents are stored and, where applicable, the natural

person in whose possession they were found (or on whose hardware device they reside or are

stored).

        C.     All production documents will be produced with extracted text and load files

including the data fields provided in Exhibit A. In those instances where redaction is used, OCR

text will be provided in lieu of the extracted text to allow for removal of the redacted text from

production. For documents produced in native format, in addition to producing extracted text and

the data fields in the table below, the producing party will provide slip sheets endorsed with the

production number and level of confidentiality pursuant to any applicable protective orders in

this case.




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       D.      Non-electronic documents shall be scanned into a static-image format. Copies of

file folders and identification of file custodians shall be produced.

       E.      For documents that have originated in paper format, the following specifications

should be used for their production.

              i.       Each filename must be unique and match the Bates number of the page.

                       The filename should not contain any blank spaces and should be zero

                       padded (for example ABC00000001).

             ii.       Media may be delivered on CDs, DVDs, external USB hard drives or via

                       secure FTP. Each media volume should have its own unique name and a

                       consistent naming convention (for example ZZZ001 or SMITH001).

            iii.       Each delivery should be accompanied by an image cross reference file that

                       contains document breaks.

             iv.       Each of the metadata and coding fields set forth below that can be

                       extracted shall be produced for each document.         The parties are not

                       obligated to populate manually any of the fields below if such fields

                       cannot be extracted from a document, with the exception of the following:

                       (a)   PRODBEG, (b) PRODEND, (c) BEGATT, (d) ENDATT, (e)

                       CUSTODIAN,         (f)   ALL    CUSTODIAN,       (g)   NATIVEFILEPATH,

                       (h) TEXTFILEPATH, (i) HASHVALUE; and (j) DOCTYPE, which

                       should be populated by the party or the party’s vendor. The parties will

                       make reasonable efforts to ensure that metadata fields automatically




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               extracted from the documents correspond directly to the information that

               exists in the original documents.

    v.         The standard delimiters for the metadata load file should be:

               Field Separator, ASCII character 020: “ ”

               Quote Character, ASCII character 254 “þ”

               Multi-Entry Delimiter, ASCII character 059: “;”

         vi.   When subjecting physical documents to an OCR process, the settings of

               the OCR software shall maximize text quality over process speed. Any

               settings such as "auto-skewing", "auto- rotation" and the like should be

               turned on when documents are run through the process. In scanning paper

               documents, distinct documents shall not be merged into a single record,

               and single documents shall not be split into multiple records (i.e., paper

               documents should be logically unitized). Parent-child relationships (the

               association between attachments and their parent documents) shall be

               preserved. In the case of an organized compilation of separate documents

               -- for example, a binder containing several separate documents behind

               numbered tabs -- the document behind each tab should be scanned

               separately, but the relationship among the documents in the binder should

               be reflected in proper coding of the beginning and ending document and

               attachment fields. Original Document orientation shall be maintained (i.e.,

               portrait to portrait and landscape to landscape). The parties agree to meet

               and confer as to any dispute before the issue is submitted to the court.”


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   8. Image Format

          A.         Documents that are converted to TIFF image format will be produced in

accordance with the following technical specifications:

                 i.         Images will be single-page, Group IV TIFF image files at 300 dpi;

                ii.         TIFF file names cannot contain embedded spaces;

               iii.         Bates numbers should be endorsed on the lower right corner of all TIFF

                            images and will be a unique, consistently formatted identifier, i.e. alpha

                            prefix along with a fixed length number (e.g., ABC0000001). The number

                            of digits in the numeric portion of the Bates number format should not

                            change in subsequent productions.

               iv.          Confidentiality designations, if any, will be endorsed on the lower left

                            corner of all TIFF images;

                v.          For replacement documents, append “-R” to the Bates number.

          B.         Images will be delivered with an image load file in the Opticon (.OPT) file

format.

          C.         Images, native files, and text files should be stored and delivered in separate

folders named “IMAGES,” “TEXT” and “NATIVE.” Folders should be segmented into

directories not to exceed 5,000 files.

          D.         A transmittal cover letter should accompany each production that includes the

production volume name(s), bate(s) ranges, custodians and associated document count, total

number of records included in the production(s), total number of image, text and native files as

well as the encryption method/software (do not include password in transmittal letter). If one or


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more production numbers is skipped in a production, the producing Party will so note in a cover

letter accompanying the production or in a privilege log.

   9. Searchable Text

       A.      Searchable text of entire documents will be produced either as extracted text for

all documents that originate in electronic format, or, for any document from which text cannot be

extracted, as text generated using Optical Character Recognition (OCR) technology. OCR text

will be provided for all documents that originate from hard copy or paper format. For redacted

documents, the full text of the redacted version of the document will be produced.

       B.      Searchable text will be produced as a document-level multi-page ASCII text file

with the text file named the same as the PRODBEG field, placed in a separate folder. The full

path of the text file must be provided in the .DAT file for the TEXT field.

   10. Native Files

       A.      Native file documents, emails or attachments may be included with the electronic

production using the below criteria:

              i.      Documents produced in native format shall be re-named to reflect the

                      production number.

             ii.      The full path of the native file must be provided in the .DAT file for the

                      NATIVE FILE field;

            iii.      The confidentiality designation under the Stipulated Protective Order to be

                      entered in this action will be produced in the load file in the

                      CONFIDENTIALITY field.




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               iv.      The producing Party will produce a placeholder (a single-page TIFF slip

                        sheet indicating that the native item was produced). The placeholder will

                        be branded with the production number in the lower right-hand corner, the

                        original filename of the native file, and the phrase “PRODUCED IN

                        NATIVE” branded in the center of the page. The producing Party will also

                        brand any confidentiality or similar endorsements in the lower left-hand

                        corner of the placeholder.

        B.       If documents produced in native format are printed for use in deposition, motion

or hearing, the party printing the document must label the front page of the file that is printed

with the corresponding production number and, if applicable, the confidentiality designation

assigned by the producing party to that file under an applicable protective order to be entered in

this action.

        C.       Excel spreadsheets should be produced in native format with lock/protect features

and password protection disabled.

    11. Embedded Objects

        A.       The parties may exclude embedded objects from the production, so long as the

relevant portion of the embedded object is maintained in the document produced. A party

seeking the full production of an embedded object shall meet and discuss with the other parties

the relevance of the full embedded object and the burden of reviewing and producing the full

embedded object.

        B.       Following production of the files containing embedded objects, a receiving party

may make reasonable requests, with respect to specific embedded objects particularly identified


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in the requests, for production of these embedded objects as stand-alone files. The producing

party shall cooperate reasonably in responding to any such requests.

   12. Structured Data

       A.      To the extent a response to discovery requires production of electronic

information stored in a database, the parties will meet and confer to discuss format of production

including whether relevant information may be provided by querying the database and

generating a report in a reasonably usable and exportable electronic file. A document reference

sheet shall be provided to describe the purpose of the database and the meaning of relevant tables

and column headers contained therein.

   13. De-Duplication

       A.      Documents shall be de-duplicated across custodians prior to production. The

parties agree to use a verifiable, de-duplication process to ensure that one copy of a document is

produced when feasible. A producing party shall identify all custodians who were in possession

of a de-duplicated documents in the “ALL CUSTODIAN” and “ALL FOLDER PATH” fields,

listed in Exhibit A.

       B.      For the avoidance of doubt, a document is not considered to be a duplicate in the

case where email headers or attachments differ in any regard or where the same document is both

attached to an email and exists in a form that is separate from such email (e.g., as an attachment

to another email, as a standalone document saved to some electronic media, etc).

       C.      For good cause shown, the receiving party shall have the right to request all

duplicates of a produced document.




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   14. Email Threads

       A.      Email threads are email communications that contain prior or lesser-inclusive

email communications that also may exist separately in the party’s electronic files. A most

inclusive email thread is one that contains all of the prior or lesser-inclusive emails, including

attachments, for that branch of the email thread.

       B.      Each party may produce only the most inclusive email threads.

       C.      Similarly, a party may list the most inclusive email thread on any required

privilege log. However, if the most inclusive email thread contains privileged portions and

would otherwise be logged in its entirety as privileged, then the thread must be produced with

privileged material redacted and the redacted portion logged.

       D.      Following production of the most-inclusive email threads, a receiving party may

make reasonable requests, with respect to most-inclusive email threads particularly identified in

the requests, for production of individual lesser-inclusive emails. The producing party shall

cooperate reasonably in responding to any such requests.

   15. Archive File Types.       Archive file types (e.g., .zip, .rar) shall be uncompressed for

processing. Each file contained within an archive file that hits on a search term shall be

analyzed for relevance. If the archive file is itself an attachment, that parent/child relationship

shall also be preserved.

   16. Color. Documents or records containing color (for example, graphs, pictures, or

color marketing materials) will be produced as color images for each such document or

record, to the extent possible. This provision does not apply to hard copy documents or

electronic records containing color logos, signatures, watermarks, or letterhead.


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   17. System Files.         Electronic   file collection    will   be "De-NISTed", removing

commercially available operating system and application files contained on the National

Institute of Standards and Technology (''NIST'') file list. Identification of NIST list matches

will be through MD5 Hash values.

   18. Standard for Addressing Privilege

       A.      Activities undertaken in compliance with the duty to preserve information are

protected from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B).

       B.      Communications seeking legal advice, discussing legal strategy, or discussing

work-product and involving inside or outside counsel for the parties related to this case need not

be placed on a privilege log, unless such communications include third parties to whom the work

product privilege does not apply.

       C.      The parties agree to furnish logs that comply with Fed. R. Civ. P. 26(b)(5) and

any other legal requirements for all documents withheld or redacted on the basis of privilege,

attorney work product, or similar doctrines. Privilege logs may be produced on a rolling basis or

after all productions are complete, but prior to the close of discovery.

       D.      Nothing in this Order shall be interpreted to require disclosure of irrelevant

information or relevant information protected by the attorney-client privilege, work-product

doctrine, or any other applicable privilege or immunity. The parties do not waive any objections

to the production, discoverability, admissibility, or confidentiality of documents and ESI.

   19. Effect of Protocol and Reservation of Rights

       A.      The parties agree to be bound by this Order during the sharing of ESI. Nothing in

this Protocol precludes any party from challenging the admissibility, discoverability, production,


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or confidentiality of information produced under this Protocol or otherwise objecting to its

production or use during the merits hearing or during any other hearing.

        B.      No party may seek relief from the Court concerning compliance with the Protocol

unless it has first conferred with the other parties.

        C.      The Protocol may be amended by the written agreement of the parties, without the

approval of the Panel.

        D.      Nothing in this Protocol shall be interpreted to require disclosure of irrelevant

information or relevant information protected by the attorney-client privilege, work-product

doctrine, or any other applicable privilege or immunity.

        E.      Nothing contained herein is intended to or shall serve to limit a party’s right to

conduct a review of documents, ESI or information (including metadata) for relevance,

responsiveness and/or segregation of privileged and/or protected information before production.




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Dated: July 9, 2021



s/ Galen D. Bellamy                       s/ Rachel Soffin
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